    ,.
           Case: 2:22-cv-02653-ALM-CMV Doc #: 109-7 Filed: 06/13/24 Page: 1 of 2 PAGEID #: 3426
)


                    From: "Effross, Hope (MBJ" <HEffross@neamb.com >
                       To: Peter Schatschneider <pete@student-resource.org>, Phillip Braithwaite
                           <pbraithwaite@student-resource.org>
                      Cc: "Bhattacharya, Moumita [MB]" <MB ha ttacharya@neamb .com>
                  Subject: RE: SEIU Member Question
                     Date: Fri, 24 Mar 2023 17:59:51 +0000
             Importance: Normal
           Inline-Images: image001.jpg



         Thank you Peter.

         Hope A. Effross I Sr. Marketing Specialist
         NEA Member Benefits
         900 Clopper Road, Suite 300 I Gaithersburg, MD 20878-1356
         Office: 301-527-2196 I Fax: 301 -956-1907


         From: Peter Schatschneider <pete@student-resource.org>
         Sent: Friday, March 24, 2023 1:59 PM
         To: Effross, Hope [MB] <HEffross@neamb.com>; Phillip Braithwaite <pbraithwaite@student-resource.org>
         Cc: Bhattacharya, Moumita [MB) <MBhattacharya@neamb.com>
         Subject: RE: SEIU Member Question

         Hello Hope,

         Thank you for the feedback on the new program - hopefully we can work together to roll this out to members soon!

         I will get you a response on the member question below asap.

         Many Thanks,

         Pete Schatschneider
         SVP, Marketing
         Student Resource Center
         Rete@stu dent-resource. o rg
         813.416.1434




                                                                                                              DEFENDANT'S
                Bri.d!:,w1g Education Opportunit•es for All.
                                                                                                            I   EXHIBIT

         From: Effross, Hope [MB] <HEffross@neamb .co m>
         Sent: Friday, March 24, 2023 1:53 PM
         To: Peter Schatschneider <Rete@student-re source.org>; Phillip Braithwaite <1::1braithwaite@student-resource.org>
         Cc: Bhattacharya, Mourn ita [ M BJ <M Bh attacha ry.£.@neamb .co m>
         Subject: SEIU Member Question




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    Case: 2:22-cv-02653-ALM-CMV Doc #: 109-7 Filed: 06/13/24 Page: 2 of 2 PAGEID #: 3427


Hi Peter and Philip.

Thank you for taking the time to go over everything with us . The new program is exciting and seems to provide a great
option in lieu of the old "Free" program.

On another note, we got an email today from SEIU who received a question from a member enrolled in the Free
College program. She's been enrolled in EGCC for the last three years and has been a member and an employee of one
of their state agencies for 17 years. She was recently transferred to another agency that is currently not represented by
the union. She only has two classes left. What can she do now? Are there options for her?

Can you provide us with some guidance on how to assist SEIU and this member?

Thank you

Hope A. Effross I Sr. Marketing Specialist
NEA Member Benefits
900 Clopper Road, Suite 300 I Gaithersburg, MD 20878-1356
Office: 301-527-2196 I Fax: 301-956-1907


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